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                                UNITED STATES DISTRICT COURT                        PRIORITY SEND
                               CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES -- GENERAL

Case No.      CV 09-8764-JFW (AGRx)                                            Date: February 1, 2010

Title:        Blake R. Williams, et al. -v- Oberon Media, Inc., et al.

PRESENT:
             HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

              Shannon Reilly                                  None Present
              Courtroom Deputy                                Court Reporter


ATTORNEYS PRESENT FOR PLAINTIFFS:                     ATTORNEYS PRESENT FOR DEFENDANTS:
              None                                                  None

PROCEEDINGS (IN CHAMBERS):                ORDER DENYING PLAINTIFFS’ MOTION FOR RELIEF
                                          FROM THE DEADLINE TO FILE A CLASS
                                          CERTIFICATION MOTION UNDER LOCAL RULE 23-3
                                          [filed 1/8/2010; Docket No. 9]

        On January 8, 2010, Plaintiffs Blake R. Williams and Peggy J. McGregor (“Plaintiffs”) filed a
Motion for Relief from the Deadline to File a Class Certification Motion Under Local Rule 23-3. On
February 12, 2010, Defendant Oberon Media, Inc. (“Defendant”) filed its Notice of Non-Opposition.
Pursuant to Rule 78 of the Federal Rules of Civil Procedure and Local Rule 7-15, the Court finds
that this matter is appropriate for decision without oral argument. The hearing calendared for
February 8, 2010 is hereby vacated and the matter taken off calendar. After considering the
moving papers and the arguments therein, the Court rules as follows:

      Pursuant to Rule 6(b)(1)(A), the Court “may, for good cause, extend the time: (A) with or
without motion or notice if the court acts, or if a request is made, before the original time or its
extension expires”.

       In this case, Plaintiffs have failed to demonstrate good cause for an extension of the Local
Rule 23-3 deadline for filing a motion for class certification. Plaintiffs primarily argue that good
cause exists for an extension of the Local Rule 23-3 deadline on the grounds that they are unable
to conduct any discovery until the Court issues an order setting a Scheduling Conference and the
parties conduct their Federal Rule of Civil Procedure 26(f) conference, relying on Federal Rule of
Civil Procedure 26(d)(1), which provides: “A party may not seek discovery from any source before
the parties have conferred as required by Rule 26(f), except . . . when authorized . . . by court
order.” Given the obvious importance to Plaintiffs of conducting discovery in this case prior to filing
their motion for class certification and this Court’s Standing Order, which states in paragraph 4(b)
that “counsel should begin to actively conduct discovery before the Scheduling Conference,”


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Plaintiffs could have conducted early discovery on class certification. Moreover, in the unlikely
event Plaintiffs had any doubt regarding the propriety of early discovery based on the Standing
Order, Plaintiffs could have sought leave of the Court to conduct early discovery on class
certification issues.

      Accordingly, Plaintiffs’ Motion for Relief from the Deadline to File a Class Certification
Motion Under Local Rule 23-3 is DENIED.



       IT IS SO ORDERED.




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